 Case 1:18-cv-00950-LO-JFA Document 230 Filed 08/07/19 Page 1 of 7 PageID# 5696



                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                           Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.



                                    PLAINTIFFS’ STATUS REPORT
             Plaintiffs respectfully provide the following status update to Magistrate Judge Anderson in

     advance of Thursday’s telephonic status conference and in the wake of Cox’s unilateral, eleventh-

     hour cancelation of the long-scheduled settlement conference.

        I.      The Canceled Settlement Conference

             At the June 21, 2019 final pre-trial conference, Judge O’Grady asked the parties if they

     were interested in exploring settlement and invited them to discuss that prospect with Your Honor.

     Cox had no obligation to agree to that course. Cox’s counsel of record, Thomas Buchanan,

     informed the Court that Cox was interested in mediating before Your Honor. Judge O’Grady

     directed the parties to contact Your Honor’s chambers promptly to schedule a settlement

     conference in advance of the looming summary judgment deadline.

             Plaintiffs, through counsel, contacted Cox’s counsel, Michael Elkin, shortly thereafter to

     discuss whether to engage in a private mediation or with Your Honor. Mr. Elkin again made clear

     that Cox wanted the settlement conference, wanted it to be in this Court, and wanted it to be with

     Your Honor. Plaintiffs consented and undertook the challenging task of coordinating schedules to

     find a date on which an authorized representative from each of the six Plaintiff groups could travel




                                                       1
Case 1:18-cv-00950-LO-JFA Document 230 Filed 08/07/19 Page 2 of 7 PageID# 5697



to Virginia to participate. The parties agreed on August 8, 2019 and requested that date with Your

Honor.

         On July 10, 2019, Your Honor agreed and scheduled the settlement conference for August

8, 2019 at 10 a.m. EST. Your Honor also sent the parties a letter setting forth the detailed

submissions the parties must submit by August 2, including a summary of facts, claims, defenses;

major issues in dispute; summary of damages; description of related litigation; names of persons

attending; the history of settlement discussions; counsel’s candid evaluation of the party’s

strengths, weaknesses and likelihood of success; fees and costs to date; an estimate of fees and

costs through trial to judgment; counsel’s best estimate of the least favorable outcomes; and both

counsel’s and the clients’ candid evaluation of reasonable and fair settlement terms.

         Plaintiffs took the task and prospect of settlement seriously and in good faith. Both clients

and counsel thought long and hard about issues impacting settlement. Counsel discussed details

of the case at length with Plaintiffs. Each client group attained settlement authority from its

respective decisionmakers. Plaintiffs drafted and submitted a substantive letter to Your Honor

setting forth all required matters. As the Court can see, the confidential submission and effort that

went into it was substantial. Plaintiffs also prepared an opening statement for the settlement

conference. A representative from each Plaintiff group cleared his or her schedule and booked

travel to Virginia—several from New York and two from Los Angeles. The process was time-

consuming and costly, distracting Plaintiffs from summary judgment and Daubert motions due

August 30, 2019, as well as trial preparations and other upcoming submissions.

         On Tuesday, August 6 at approximately 12:45 pm EST, Mr. Buchanan informed Plaintiffs’

counsel by telephone that Cox was unilaterally canceling the settlement conference. This was

more than six weeks after Cox told Judge O’Grady it was interested in participating in a settlement

conference with Your Honor, nearly four weeks after Your Honor scheduled the parties for the



                                                    2
Case 1:18-cv-00950-LO-JFA Document 230 Filed 08/07/19 Page 3 of 7 PageID# 5698



entire day, and less than 48 hours before the conference. By this time, one of Plaintiffs’

representatives was already in the air traveling to Virginia from Los Angeles. Others incurred non-

refundable travel expenses. Plaintiffs incurred substantial attorneys’ fees in connection with their

analysis, drafting and preparations for the settlement conference.

       Mr. Buchanan said Cox was refusing to participate in the settlement conference because

Cox does not believe it would be productive. He said Cox believed the parties were too far apart

in their views of a reasonable settlement to reach an agreement. He said Cox wanted or needed

resolution of upcoming pretrial motions to inform its view on settlement. And he said Cox would

not agree to pay Plaintiffs’ fees and costs incurred in preparing for the canceled conference.

       While Plaintiffs have neither the ability nor desire to force Cox to engage in a settlement

dialogue, Cox’s last-minute cancelation has unfairly prejudiced Plaintiffs. Its assertion that the

parties’ settlement views are too disparate for a productive dialogue is specious. The parties have

not engaged in any recent settlement discussions. Between the final pretrial conference and Cox’s

unilateral cancelation yesterday, absolutely nothing had happened between the parties to justify

Cox’s about-face. If Cox held the view that the parties are too far apart in terms of valuing the

case, it should not have represented to the Court and Plaintiffs that it was interested in a settlement

conference; it should not have scheduled the settlement conference; and if it was going to cancel

the settlement conference, it should have done so weeks earlier.

       Had Cox taken this process seriously, it would have known long before yesterday that it

thought settlement discussions would not be productive. Instead, Cox misled the Court and

Plaintiffs for more than six weeks, forcing both to expend resources and distract from other

important matters. Cox imposed on the Court to clear its schedule for an entire day and take time

to review the parties’ submissions. Cox distracted Plaintiffs’ from important motions and trial

preparations, requiring them instead to rack up fees preparing for a settlement conference. And



                                                    3
Case 1:18-cv-00950-LO-JFA Document 230 Filed 08/07/19 Page 4 of 7 PageID# 5699



Cox caused Plaintiffs’ representitives to needlessly clear their schedules, prepare for the

conference, incur costs and, for one client, fly here from California.

          Throughout the case, Cox has demonstrated a consistent pattern of obstruction, delay and

gamesmanship. Plaintiffs thus have concern that Cox’s approach to the settlement conference was

just a ruse to distract Plaintiffs at a critical time. In discovery, Cox took absurd positions, objecting

to basic discovery. Plaintiffs had to file four motions to compel basic discovery, each of which

was granted in some measure. In several instances, Cox caved and agreed to provide discovery

only after Plaintiffs moved (i.e., ticket data, prior depositions, policies concerning reactivation

fees), or only after Plaintiffs asked again and again for justified discovery, confirming that Cox’s

objections were never well-founded. After the Court ordered Cox to produce billing records over

Cox’s objection, Plaintiffs were still forced to seek relief from the Court on expert deadlines

because Cox unreasonably delayed that production and refused to accommodate a reasonable

courtesy extension to account for the delay.         In other instances, Cox’s gamesmanship has

manifested in manufactured disputes and baseless threats. The instances of Cox’s strategic

gamesmanship go on and on and it is no stretch to believe that Cox’s unilateral, eleventh-hour

cancelation of the long-scheduled settlement conference is simply more of the same. And

regardless of the motive, there can be no dispute that Plaintiffs’ suffered unnecessary distractions

and costs as a result of Cox’s conduct.

          The Court has broad discretion to enter sanctions pursuant to its inherent authority,

including without the formality of a motion. This situation clearly calls for it. Plaintiffs are

prepared to file a formal motion should the Court deem it necessary, though that would only further

distract Plaintiffs at this critical juncture and increase the amount that Cox should have to

compensate Plaintiffs.

    II.      Case Status Update



                                                     4
Case 1:18-cv-00950-LO-JFA Document 230 Filed 08/07/19 Page 5 of 7 PageID# 5700



       The parties attended a pre-trial conference on June 21, 2019 and discovery closed thereafter

on July 2. The case is currently set for a trial of approximately three weeks beginning on December

2, 2019. Over the last few weeks, the parties filed trial witness lists and objections to same. Exhibit

lists are due next week, with additional pre-trial submissions due in the coming months, as set

forth in the schedule below.

       Summary judgment and Daubert motions are due August 30. Plaintiffs intend to move for

summary judgment on liability and Cox’s affirmative defenses. Plaintiffs also plan to file Daubert

motions to exclude, in whole or in part, testimony and opinions from each of Cox’s five putative

experts. Plaintiffs expect evidentiary and other motions in limine to be material.

       On July 22, 2019 the Court entered the following pre-trial schedule (ECF No. 223), with

the consent of the parties:

                                     A.     Pretrial Filings

   EVENT                                                                          Date

   File Rule 26(a)(3)(A)(i) witness disclosures                              July 16, 2019

   File objections to the other side’s Rule 26(a)(3)(A)(i)                   July 23, 2019
   witness disclosures

   File Rule 26(a)(3)(A)(iii) exhibit list disclosures                      August 13, 2019

   Serve (but do not file) proposed written stipulations of                August 15, 2019
   uncontested facts

   File written stipulations of uncontested facts                          August 22, 2019

   File objections to the other side’s Rule 26(a)(3)(A)(iii)               August 29, 2019
   exhibit list disclosures

   File deposition designations under Rules                              September 18, 2019
   26(a)(3)(A)(ii), 32(a)(3) & (4), and Local Civil
   Rule 30(F)

   File objections to the other side’s deposition                           October 7, 2019
   designations and counter-designations


                                                    5
Case 1:18-cv-00950-LO-JFA Document 230 Filed 08/07/19 Page 6 of 7 PageID# 5701




   File objections to the other side’s counter-designations            October 22, 2019
   and any fairness designations

                      B.      Summary Judgment and Daubert Motions

   EVENT                                                                     Date
   File Summary Judgment Motions and Briefs, and                       August 30, 2019
   Daubert Motions and Briefs
   File Summary Judgment Oppositions and Daubert                     September 24, 2019
   Oppositions
   File Summary Judgment Replies and Daubert Replies                   October 11, 2015

   Summary Judgment and Daubert Hearing                                October 18, 2019

                                    C.     Motions In Limine

   EVENT                                                                     Date

   File Motions in limine and Briefs                                   October 21, 2019

   File Motions in limine Oppositions                                 November 4, 2019

   File Motions in limine Replies                                     November 11, 2019
   Motions in limine Hearing                                         November 15, 2019

        Last week, Mr. Buchanan informed Plaintiffs’ counsel of a personal commitment he

neglected to consider when setting the date for argument on motions in limine and requested their

consent to a revised schedule on those motions.         Though inconvenient given the already

compressed schedule, as a courtesy, Plaintiffs agreed to the following schedule for motions in

limine, subject to Judge O’Grady’s entry of an order approving it:

   EVENT                                                                     Date

   File Motions in limine and Briefs                                   October 19, 2019

   File Motions in limine Oppositions                                  October 30, 2019

   File Motions in limine Replies                                     November 5, 2019
   Motions in limine Hearing                                         November 11, 2019



                                                  6
Case 1:18-cv-00950-LO-JFA Document 230 Filed 08/07/19 Page 7 of 7 PageID# 5702



 Dated August 7, 2019                            Respectfully Submitted,

                                                 /s/ Scott A. Zebrak /
                                                 Scott A. Zebrak (38729)
                                                 Matthew J. Oppenheim (pro hac vice)
                                                 Jeffrey M. Gould (pro hac vice)
                                                 Kerry M. Mustico (pro hac vice)
                                                 OPPENHEIM + ZEBRAK, LLP
                                                 4530 Wisconsin Avenue, NW, 5th Floor
                                                 Washington, DC 20015
                                                 Tel: 202-480-2999
                                                 scott@oandzlaw.com
                                                 matt@oandzlaw.com
                                                 jeff@oandzlaw.com
                                                 kerry@oandzlaw.com

                                                 Attorneys for Plaintiffs




                                       7
